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        Chapter 13 Trustee
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                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO

 In re:                                                 Case No. 21-00086-JMM
 ANGELINA AUDREY MITCHELL,
               Debtor.                                  Chapter 13

               Notice of Trustee’s Objection to Debtor(s) Claim of Exemption
                        and Opportunity to Object and for a Hearing

 No Objection. The Court may consider this request for an order without further notice or
 hearing unless a party in interest files an objection within fourteen [14] days of the date of
 service of this notice.

 If an objection is not filed within the time permitted, the Court may consider that there is no
 opposition to the granting of the requested relief and may grant the relief without further
 notice or hearing.

 Objection. Any objection shall set out the legal and/or factual basis for the objection. A
 copy of the objection shall be served on the movant.

 Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to
 schedule a hearing on the objection and file a separate notice of hearing.




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            TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM OF EXEMPTION

       COMES NOW Kathleen A. McCallister, Standing Chapter 13 Trustee for the District of

Idaho, by and through her attorney, Jeffrey P. Kaufman, and, pursuant to FRBP 4003, hereby

objects to the following exemption(s) claimed by Debtor(s) in this proceeding:

                                Claimed Value   Specific Law                        Value of
  Asset Description             Owned by Debtor Claimed                             Exemption
  7933 Sonara Rd, Caldwell, ID $135,300.00      Idaho Code § 55-1003                $46,385.13
  83605, Gem County
                              TOTAL VALUE OF EXEMPTIONS CLAIMED                     $46,385.13

                                         OBJECTION

       Trustee objects to Debtor’s claim of exemption in the above-referenced real property on

the grounds that before filing her bankruptcy petition, Debtor vacated the above-referenced real

property for a continuous period of at least six months. Debtor has not produced, nor has trustee

located, a duly acknowledged and recorded declaration of nonabandonment of homestead

preserving her homestead exemption. Consequently, pursuant to Idaho Code § 55-1006,

Debtor’s homestead is presumed abandoned and the above-referenced claim of exemption should

be disallowed.

       WHEREFORE, the Trustee respectfully requests that Debtor’s above claim of exemption

be disallowed.

       DATED: November 24, 2021

                                             OFFICE OF KATHLEEN A. McCALLISTER,
                                                  CHAPTER 13 TRUSTEE

                                             By: /s/ Jeffrey P. Kaufman
                                                    Jeffrey P. Kaufman,
                                                    Attorney for Kathleen A. McCallister


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                                CERTIFICATE OF SERVICE

        I, HEREBY CERTIFY that on November 24, 2021, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

 Office of the U.S. Trustee                        Holly Sutherland, for the Debtors
 ustp.region18.bs.ecf@usdoj.gov                    holly@averylaw.net

       AND I FURTHER CERTIFY that on November 24, 2021 I served the foregoing on the
following non-CM/ECF Registered Participants in the manner indicated:

       Via first class mail, postage prepaid addressed as follows:

Angelina Audrey Mitchell
7933 W. Sonara Road
Caldwell, ID 83607

                                                                           /s/ Jeffrey P. Kaufman
                                                                               Jeffrey P. Kaufman




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